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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

CURTIS LEE EVERITT,
PETER BRIAN FLORES,
STEVEN EARL ERWIN, STEVE NIDES,
BRANDON SCOTT KEENA,
SERGIO A. VALLES JR.,
JASON ANDREW STEIN,
GEOFFREY J. BURGE,
and VERNON J. LOWERY,                                    No. 07-30136-DRH

Defendant.

                                     ORDER

HERNDON, Chief Judge:

      Before the Court is a Motion for Extension of Time to File Pretrial Motions

and to Continue Trial Setting submitted by Defendant Everitt (Doc. 170).

Defendant argues that he received relevant discovery consisting of over 1400 pages

of reports and other documents and needs sufficient tome to review said discovery.

Having considered the reasons set forth in this Motion, said Motion is GRANTED.

To force the Defendant to trial without adequate time to prepare would constitute a

miscarriage of justice. Defendants will have additional time up to and including

November 3, 2008 in which to file pretrial motions in this matter.

      The Court also finds that the trial should be postponed because Defendant has


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been granted extended time in which to review discovery and file pretrial motions.

In addition, the Court finds that pursuant to 18 U.S.C. § 3161(h)(8)(A), the ends

of justice served by the granting of such a continuance outweigh the interests of the

public and Defendant Everitt in a speedy trial. Therefore, the Court GRANTS

Defendant Everitt’s motion to continue trial (Doc. 170) and CONTINUES the jury

trial as to all Defendants scheduled for November 10, 2008 until December 8,

2008 at 9:00am. The time from the date Defendant Dixon’s motion was filed,

September 24, 2008 until the date on which the trial is rescheduled, December 8,

2008, is excludable time for the purposes of a speedy trial.

             IT IS SO ORDERED.

             Signed this 2nd day of October, 2008.

                                             /s/       DavidRHer|do|
                                             Chief Judge
                                             United States District Court




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